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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES - GENERAL

  Case No.    CV 22-3225-DMG (MRWx)                                  Date     September 20, 2022

  Title Exxon Mobil Corporation v. Santa Barbara County Board of Supervisors


  Present: The Honorable     DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               Kane Tien                                              Not Reported
              Deputy Clerk                                            Court Reporter

     Attorneys Present for Plaintiff(s)                     Attorneys Present for Defendant(s)
               Not Present                                             Not Present

  Proceedings: IN CHAMBERS - ORDER

          The Court has scheduled a deadline for cross-motions for summary judgment pursuant to
  the parties’ recommendation in their Joint Rule 26(f) Report. The parties shall comply with the
  attached Schedule.

  IT IS SO ORDERED.




  CV-90                              CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
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Judge Dolly M. Gee
SCHEDULE OF DATES AND DEADLINES

Case No.:    CV 22-03225 DMG (MRWx)               Title:   Exxon Mobil Corp. v. Santa Barbara Cty. Bd. of
                                                           Supervisors

                               MATTER                                    COURT ORDERED                 TIME
                                                                             DATE

TRIAL1    [ ] Court [ ] Jury                                                   N/A                     N/A
Duration Estimate: n/a

FINAL PRETRIAL CONFERENCE (FPTC)                                               N/A                     N/A
4 wks before trial


                               MATTER                                         COURT ORDERED DATE

Amended Pleadings and Addition of Parties Cut-Off (includes hearing of                 11-11-22
motions to amend)

Non-Expert Discovery Cut-Off                                                             N/A
(includes hearing of discovery motions)

Motion Cut-Off (filing deadline)                                                       3-30-23

Initial Expert Disclosure & Report Deadline                                              N/A

Rebuttal Expert Disclosure & Report Deadline                                             N/A

Expert Discovery Cut-Off (includes hearing of discovery motions)                         N/A

Settlement Conference Completion Date                                                  To be set

Motions in Limine Filing Deadline                                                        N/A

Opposition to Motion in Limine Filing Deadline                                           N/A

Administrative Record to be Filed                                                      12-13-22

Motions to Supplement or Complete the Administrative Record Due                        1-13-23

Board Motion for Summary Judgment                                                      2-13-23

ExxonMobil Cross-Motion for Summary Judgment and Opposition to                         3-30-23
Board Motion for Summary Judgment

Board Reply on Motion for Summary Judgment and Opposition to                            5-1-23
ExxonMobil Cross-Motion for Summary Judgment

Exxon Reply on Cross-Motion for Summary Judgment                                       5-31-23

Hearing on Cross-Motions for Summary Judgment                                    6-16-23 @ 2:00 p.m.




               1
               The Court bifurcates this matter into two phases as proposed by the parties. If this
      matter is not resolved on summary judgment, the Court will solicit a proposed court trial date.
      After Phase I is completed, the Court will schedule dates relating to Phase II of the litigation,
      including a settlement conference deadline.
